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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-766V
                                    Filed: October 27, 2017
                                        UNPUBLISHED


    MAX BAUM,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Uncontested;
    v.                                                       Causation-In-Fact; Influenza (Flu)
                                                             Vaccine; Guillain-Barre Syndrome
    SECRETARY OF HEALTH AND                                  (GBS)
    HUMAN SERVICES,

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Ilene Claire Albala, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On June 29, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that his November 12, 2015 influenza (“flu”) vaccination caused
him to develop Guillain-Barre Syndrome (“GBS”). Petition at 1. The case was assigned
to the Special Processing Unit of the Office of Special Masters.

      On October 26, 2017, respondent filed his Rule 4(c) report in which he states that
he does not contest that petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report at 1. Specifically, respondent indicates that



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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          Medical personnel at the Division of Injury Compensation Programs,
          Department of Health and Human Services (“DICP”), have reviewed the
          petition and medical records filed in the case. It is respondent’s s position
          that petitioner has satisfied the criteria set forth in the newly revised
          Vaccine Injury Table (“Table”) and the Qualifications and Aids to
          Interpretation (“QAI”).3 Although the revised Table only governs petitions
          filed on or after the effective date of the final rule, the evidence shows that
          petitioner suffered GBS following the administration of a seasonal flu
          vaccine, and that the onset occurred within the time period specified in the
          Table. Recognizing that petitioner may re-file this petition and be afforded
          a presumption of causation under the revised Table (see 42 U.S.C. §
          300aa-16(b)), respondent will not contest entitlement to compensation in
          this case.

    Id. at 3-4.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




3
 “The final rule amending the Table to add GBS as a Table injury for flu vaccine was published on
January 19, 2017, and took effect on March 21, 2017. 82 Fed. Reg. 6294 (Jan. 19, 2017) (to be codified
at 42 C.F.R. Pt. 100).” Respondent’s Rule 4 (c) Report at Footnote 1.
